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UN|TED STATES OF AMER|CA,

Plaintiff,
VS.
CFi. NO. 04-20335-B
JEREMY DOWDY,
Detendant.

 

ORDEFI ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on July 25, 2005. At that time, counsel for the
defendant requested a continuance ot the August 1, 2005 trial date in order to allow tor
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a
report date of llllonda),[l August 29, 2005l at 9:30 a.m., in Courtroom 1. 11th Floor of the
Federa| Building, Nlemphis, TN.

The period trom August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(i\/) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

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|T |S SO OFiDEF{ED this f day Of , 2005.

 

J. o NlEL BREEN \
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Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 2:04-CR-20335 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

